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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

JULIE A. SU, Acting Secretary
of Labor, United States Department of Labor,

             Petitioner,                            Case No. 22-mc-51667
                                                    Hon. Matthew F. Leitman
v.

ROSIE GUTHRIE, et al.,

          Respondents.
__________________________________________________________________/

                     ORDER GRANTING PETITIONER’S
                        MOTION FOR CONTEMPT

      For the reasons stated in the Motion for Contempt filed by the Acting

Secretary of Labor, U.S. Department of Labor (“Petitioner”), the Court finds

Respondents GENESIS HOMECARE SERVICES, LLC, and its owner ROSIE

GUTHRIE in civil contempt of court, and hereby ORDERS the following:

      A.     GENESIS HOMECARE SERVICES, LLC, and ROSIE GUTHRIE

shall produce all responsive documents to the Petitioner’s Subpoena—as originally

required by the Court’s March 15, 2023 Order [Doc. 4]—within five (5) calendar

days of service of this Order;

      B.     GENESIS HOMECARE SERVICES, LLC, and ROSIE GUTHRIE

are hereby subject to a coercive fine of $250.00 per day for each subsequent day

(after five days have passed from service) that they fail to comply with this Order;
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      C.     GENESIS HOMECARE SERVICES, LLC, and ROSIE GUTHRIE

are directed to pay the Petitioner a compensatory fine equal to the costs, including

reasonable attorney’s fees, of $2,500.00;

      D.     In the event Genesis Homecare Services, LLC, and Rosie Guthrie

provide all the documents requested by the Petitioner’s Subpoena Duces Tecum,

PETITIONER shall file a notice with the Court within five business days of

compliance; and

      E.     PETITIONER shall serve Genesis Homecare Services, LLC, and Rosie

Guthrie with a copy of this Order by the following means:

             i.     By personal service, or if Respondents will not accept service, by

      affixing this Order to the door of Respondent Guthrie’s residence;

             ii.    By first class mail, uncertified and without return-receipt

      requested, and;

             iii.   By certified mail, with return-receipt requested.

      F.     Within 10 days of service as described by Paragraph E(i),

PETITIONER shall file a Certificate of Service with the court documenting its

compliance with paragraph E.

      G.     If Genesis Homecare Services, LLC, and Rosie Guthrie have still not

provided all the documents requested by the Petitioner’s Subpoena Duces Tecum

within 10 days of Petitioner filing its Certificate of Service under Paragraph F of this



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Order, PETITONER may renew its Motion for Contempt to seek further sanction

for Respondents’ contemptuous conduct, including coercive confinement of

Respondent Guthrie in prison.

      IT IS SO ORDERED.


                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: September 27, 2023


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on September 27, 2023, by electronic means and/or
ordinary mail.

                                     s/Holly A. Ryan
                                     Case Manager
                                     (313) 234-5126




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